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                                   STATEMENT OF FACTS

        Your affiant, Clinton Nanji Nanji, is a Special Agent assigned to the Federal Bureau of
Investigation Baltimore Field Office – Wilmington Resident Agency Joint Terrorism Task Force
(JTTF). In my duties as a Special Agent, I investigate criminal activity pertaining to international
and domestic terrorism and Counterintelligence. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                         Specific Facts Pataining to Andrew Michael Yavoich

        On January 11, 2022, an FBI Confidential Human Source (“CHS”) who has been deemed
credible and reliable through previous reporting related to the riot at the United States Capitol on
January 6, 2021, provided images comparing an individual identified as “#insider997” to various
social media accounts link to an individual named Andrew YAVOICH. One such social media
account was a Facebook account with a username of andyman83.

        A review of official
surveillance footage obtained
from the United States Capitol
Police showed the individual
identified as “#insider997” to
be using a cell phone from
inside the Capitol building. A
search warrant served on
Verizon showed that a number
associated    with     Andrew
YAVOICH’s phone calls
between January 05, 2021 to
January 07, 2021 were made in
Washington, D.C.

       Agents obtained a photograph from the Delaware Criminal Justice System on January 12,
2022, and a photograph from a Florida driver’s license matching and individual named ANDREW
MICHAEL YAVOICH. The two photographs depicted the same individual and each matched
photographs of “#insider997” taken from January 6, 2021.

        On January 18, 2022, FBI Baltimore opened a full investigation into the allegations that
YAVOICH unlawfully entered and remained in the restricted building or grounds of the United
States Capitol Building on January 6, 2021.
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        On May 10, 2022, FBI agents interviewed YAVOICH at his residence. Agents noted that
the only car parked in YAVOICH’s driveway at the time of the interview was one registered to
YAVOICH. The individual that opened the door was the same individual depicted in the
photographs from the Capitol on January 6, 2021. YAVOICH confirmed his identity and provided
the same cell phone number agents had on file from the aforementioned legal process. Agents were
able to confirm that the individual that opened the door is the one depicted in the photographs from
January 6, 2021.

       Pictures from January 6, 2021 show YAVOICH unlawfully within the restricted building
or grounds of the United States Capitol Building on January 6, 2021.
Image 3:




Image 4:
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        United States Capitol surveillance footage confirmed that YAVOICH entered the United
States Capitol Building on January 6, 2021 at approximately 2:49 EST through the Senate Wing
Door. YAVOICH was wearing a black jacked, red hoodie, red “keep America Great baseball cap,
blue jeans, and carried a U.S. flag upon entering.

Image 5:




       Upon entering the United States Capitol, YAVOICH walked south towards the Crypt.

Image 6:
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       At 2:59 PM, YAVOICH reentered the Northwest Alcove where he lingered briefly, before
heading south towards the Crypt at 3:00.

Image 7:




       At 3:03 PM, YAVOICH entered the Crypt.
       At 3:03 PM, YAVOICH exited the Crypt, headed towards the Memorial Door.
       United States Capitol surveillance camera data determined YAVOICH spent
approximately 16 minutes in the Capitol before exiting the Capitol approximately 3:05 EST. At
3:04 PM, YAVOICH passed through the Southwest Alcove on his way to exit the Capitol.
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Image 8:




       At 3:06 PM, YAVOICH exited the Capitol through the South Door.
Image 9:




       A search warrant on the iCloud account ayavoich@yahoo.com, revealed text message
conversations between YAVOICH and at least one individual on January 06, 2021. This individual
asked YAVOICH to be safe and whether he would see YAVOICH on CNN of which YAVOICH
responded with “maybe”. YAVOICH later texted this same individual saying he (YAVOICH) was
back at his hotel. On January 07, 2021, another individual texted YAVOICH to make sure
YAVOICH was safe. YAVOICH responded that he was in his hotel and that DC was on lockdown.
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       Based on the foregoing, your affiant submits that there is probable cause to believe that
YAVOICH violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions.

        Finally, your affiant submits there is also probable cause to believe that YAVOICH
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and to parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      SA CLINTON NANJI NANJI
                                                      FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of June 2023.


                                                      ___________________________________
                                                      MOXILA A. UPADHYAYA
                                                      U.S. MAGISTRATE JUDGE
